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 6
 7                                                 UNITED STATES DISTRICT COURT
 8                   NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
 9
10
     ASHOK BABU, ROBERT BELL, IBRAHIM                                                           No. 5:18-cv-07677
11
     KEEGAN-HORNSBY, DEMAREA
12   JOHNSON, BRANDON JONES,                                                                   CLASS MEMBER KATRISH JONES'
     STEPHANIE NAVARRO, ROBERTO                                                                OBJECTION TO THE PROPOSED
13   SERRANO, and ALEXANDER                                                                    CLASS ACTION SETTLEMENT AND
     WASHINGTON on behalf of themselves and                                                    CONSENT DECREE
14
     all others similarly situated.
15
                    Plaintiffs,
16
            vs.
17
18   ALAMEDA COUNTY SHERIFF’S OFFICE, et
19   al.,
                  Defendants.
20
21          Class Member Katrish Jones (PFN #BAQ414) is currently incarcerated as a prisoner in
22   Santa Rita Jail, and submits her objection to the proposed class action settlement, as attached.
23   Dated: December 31, 2021                                   LAW OFFICE OF YOLANDA HUANG
24
25
                                                                By_____/S/ Yolanda Huang_______________
26
                                                                      YOLANDA HUANG
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        CLASS MEMBER KATRISH JONES' OBJECTION TO PROPOSED SETTLEMENT AND CONSENT DECREE
                    Babu, et al, et al v. Alameda County Sheriff’s Office United States District Court, Northern District of California, Case No. 5:18-cv-07677
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